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Ch 13 Model Plan (rev 7/22/'13)

United States Bankruptcy Coul't
Southern District of Indiana

 

 

 

in re Carl Edward Culrrlann Case No. 13-05865-FJO
Debtor(s) Chapter 1 3
CHAPTER 13 PLAN
Original “__
Amended Plan ##_2 (e.g. lst, an)
* *MUST .BE DESIGNA TED * *

l. GENERAL PROVISIONS:

(a) YOUR RIGHTS MAY BE AFFECTED. Read these papers carefully and discuss them with your attorney It" you
oppose any provision of this plan, you must file a timely written objection This plan may be confirmed without further notice or
hearing unless a written objection is filed before the deadline stated on the separate Notice you received from the Bankruptcy Court. lf
you have a secured claim, this plan may modify your lien if you do not object to the plan.

(b) PROOFS OF CLAIM: This plan does not allow claims. You must file a proof of claim to receive pre-confirmation
adequate protection payments and to receive distribution under a continued plan. The filed proof of claim shall control as to the claim
amount for pre-petition arrearages, secured and priority tax liabilities, and any payment in full offers unless specifically objected to and
determined otherwise by the Court. All claims that are secured by a security interest in real estate shall comply with the requirements
of FRBP 3001(c) without regard to whether the real estate is the debtor’s principal residence

(c) NOTICES RELATING TO MORTGAGES: All creditors with claims secured by a security interest in real estate shall
comply with the requirements cf B.R. 3002.1 without regard to whether the real estate is the debtor’s principal residence ln addition to
the requirements of FRBP 3002.1, should there be a change in the mortgage servicer while the bankruptcy is pending, the mortgage
holder shall file with the Banl<ruptcy Court and serve upon the debtor, debtor’s counsel and the Chapter 13 Trustee ("Trus'tee") a
Notice setting forth the change and providing the name of the servicer, the payment address, a contact phone number and a contact
e~mail address

(d) N()TICES (OTHER THAN THOSE RELATlNG TO MORTGAGES): Non-mortgage creditors in Section 7(0)
(whose rights are not being modified) or in Section 10 (whose executory contracts/unexpired leases are being assumed) may continue
to mail customary notices or coupons to the debtor or the Trustee notwithstanding the automatic Stay.

(e) ADEQUATE PR()TECTION PAYMENTS: In accordance With Local Rulc B-3015-3, any adequate protection
payment offers shall be based upon 1% of the proposed allowed secured claim, although that presumption may be rebuttedl The
Trustee shall disburse such payments to the secured creditor as soon as practicable after receiving plan payments from the debtor, and
the allowable secured claim will be reduced accordingly All adequate protection payments shall be subject to the Trustee’s percentage
fee as set by the United States Trustee. No adequate protection payments will be made by the chtor directly to the creditor.

(f) EQUAL MONTHLY PAYMENTS: The Trustee may increase the amount of any "Equal Monthly Amount" offered to
appropriately amortize the claim. The trustee shall be permitted to accelerate payments to any class of creditor for efficient
administration of the case.

(g] PAYMENTS FOLLOWING ENTRY OF ORDERS LIF'I`ING STAY: Upon entry of an order lifting the stay, no
distributions shall be made on any secured claim relating to the subject collateral until such time as a timely amended deficiency claim
is filed by such creditor and deemed allowed, or the automatic stay is re-imposed by further order of the Court.

2. SUBMISSION OF INCOME: Debtor submits to the supervision and control of the Trustee all or such portion of future earnings
or other future income cr specified property of the debtor as is necessary for the execution of this plan.

 

3. PLAN TERMS:

(a) PAYMENT AND LENGTI~I OF PLAN: chtor shall pay $9.00 Mcnth|y for 2 months, then $7,200.00 Nionth|y for 2
months, then $8,886.00 |V|onth|y for 4 months, then $8,120.00 Monthiy for 52 months to the Trustee, starting not later than 30
days after the order for relief, for approximately L mcnths, for a total amount of $ 472,184.00 . Additional payments to the
trustce: None. .

 

 

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(b) INCREASED FUNDING: If additional property comes into the estate pursuant to ll U.S.C. §1306(a)(l) cr if the
Trustee discovers undisclosed property of the estate, then the Trustee may obtain such property or its proceeds to increase the total
amount to be paid under the plan. No motion to modify the plan will be required but the Trustee may file a report to court. However, if
the Trustee elects to take less than 100% of the property to which the estate is entitled OR less than the amount necessary to pay all
allowed claims in full, then a motion to compromise and settle will be filed, and appropriate notice given.

{c) CURING DEFAULTS: If Debtor falls behind on plan payments or if changes to the payments owed to secured lenders
require additional funds from the Debtor's income, the Debtor and the Trustee may agree that the Debtor(s) will increase the payment
amount each month or that the time period for making payments will be extended, not to exceed 60 months. Creditors will not receive
notice of any such agreement unless the total amount that the Debtor(s) will pay to the Trustee decreases. Any party may request in
writing, addressed to the Trustee at the address shown on the notice of the meeting of creditors, that the Trustee give that party notice
of any such agreement Agreements under this section cannot extend the term of the plan more than 6 additional months.

(d) OTHER PLAN CHANGES: Any other modification of the plan shall be proposed by motion pursuant to 11 U.S.C.
§1329. Service of any motion to modify this plan shall be made by the moving party as required by FRBP 2002(a)(5) and 3015(g),
unless otherwise ordered by the Court.

4. ADMINISTRATIVE CLAIl\/[S (INCLUSIVE OF DEBTOR'S ATTORNEY FEES):
All administrative claims will be paid in full by the Trustee unless creditor agrees otherwise:

 

 

Creditor Type of Priority Scheduled Amount

 

 

 

Robert B. Lynch 17438-49 Attorney Fees $3,716.00

 

5. DOMESTIC SUPPORT OBLIGATIONS: The following Domestic Support Obligations will be paid in the manner specified:

 

 

Creditor Type of Claim Estimated Arrears Treatment

 

-NONE-

 

 

 

 

 

 

DEBTOR IS REQUIRED TO PAY ANY PAYMENTS FALLING DUE AFT.ER THE FILING OF THE CASE PURSUANT
TO A DOMESTIC SUPPORT ORDER DIRECTLY TO THE PAYEE IN ORDER FOR THIS I’LAN TO BE CONFIRMED
AND FOR DEBTOR 'I`O RECEIVE A DISCHARGE FROM THE COURT UPON COMPLETION OF I’LAN PAYMENTS
I-IEREIN.

6. SECURED CLAIMS RELATING SOLELY TO THE DEBTOR'S PR]NCII’AL RESIDENCE-CURING DEFAULTS
AND/OR MA[NTAINING PAYMENTS' (lNCLUSlVE OF REAL ESTATE TAXES AN]) HOMEOWNER'S ASSOCIATION
ARREARS !: If there is a pre-petition arrearage claim on a mortgage secured by the Debtor’s principal residence, then both the
pre-petition arrearage and the post-petition mortgage installments shall be made through the Trustee. lnitial post-petition payment
arrears shall be paid With secured creditors If there are no arrears, the Debtor may pay the secured creditor directly. Estimated Current
Monthly Installment listed below'shall be adjusted based on filed claim and/or notice.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Select One
Mortgages ONLY:
EStimat€d EStima.ted Current Trustee Direct
Creditor Residential Address Arrears Monthly lustallment Pay Pay
Chase N|anhattan 6363 S Tacoma Ave, |ndianapo|is, |N $1,412.73 $1,053.60 X
Mortgage h 46§2$7131 500 Trustee ])irect
pure ase - ,
3 br 2 bath [: GJ\/Liii`)l)~/J C’v‘b(~/'~J 1901 U)M\. PaY PHY
tri-level ()\5,.\>
Debtor's marital residence
Chase N|anhattan 861 Southern Ave, lndianapo|is, |N $4,301.72 $888.06 X
M°rtgage h 43‘:03 $50 000 Trustee Direct
pure aec or ,
3 brt bath P“y P“y
1 story
Rented for $925.'month
N|tg: $900 per month
Citibank Na 6363 S Tacoma Ave, |ndianapo|is, iN $0.00 $300.00 X
46227
purchased $131,500

 

 

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Select One
Mortgages ONLY:
3 br 2 bath Estimated Esttmated Current Tl~ustee ])irect
Creditor Residtiit-ielvieiidress Arrcars Monthly Installment Pay Pay
Debtor's marital residence
O|d National Bank 101 N Be|mont, lndianapolisl |N 46222 $0.00 $0.00 X
purchased for $20,000; formerly owned Trustee Dil.ect
by Llon's Paw Properties. Debtor now
100% owner Pay Pay
3 br 1 bath
1 story
Property is rented for $4001month with
a mortgage of $300/month (mtg. with
431 S. Emerso
Residentia| Credit S|t 128 & 130 S Be|mont Ave, |nc|ianapo|is, $0.00 $550.00 X
h lN :?22;25 000 Trustee Direct
pure ase or
2 br 1 bath each side Pay Pay
1 story double
Rents for $10001month
Mortg_age: $550.00 per month
Svo Portfolio Starwood Time Share $1,714.64 $0.00 X
Services SVOZOOQ~B VO| Mortgage Tl.ustee Direct
purchased 5116!07 for $22,900 Pay Pay
2 br 2 bath 1 story
Chase Home Finance 820 E Edgewood Ave, |ndianapolis, lN $46,255.67 $945.31 X
LLC h 4620|2;81 500 Trustee Direct
pure ase ,
3 br1 bath P”y my
1 story
Rent: Usua||y rents for $900, presently
not rented.
N|ortgage: $850.00 per month
Old Nationa`| Bank 431 8 Emerson, lndianapolis, lN 46219 $53,444!22 $944.18 )(
purchased 4129)'02 for $52,000 Trustee Dil.ect
(former|y owned by Lion's Paw t
Properties) Debtor now the 100% Cpct gale Prly Pay
owner \f
3 br 1 bath \,JMQOM£__ imij
1 story _
mel
Property is not presently rented.
Nlortgage: $300/month.
Regions 383 S Emerson Ave, lndianapo|is, |N $12,300.00 $1,000.00 X
46219 Trustee Direct
purchased 7115198 for $75,600 Pay Pay
commercial
1 story
Present|y not rented, normally rents for
$1500!month
N|ortgage: $1000 per month
Suntrust Mortgage 6915 S Bri|l St, |ndianapo|is, |N 46227 $58,075.66 $987.95 X
lnc purchased for $96,000 Trustee Direct
2 br 1 bath
1 story Pay Pay
Rented for $925!month
N|ortgage: $800 per month
Uplregionsm 6336 S Tacoma St, |ndianapo|is, lN $9,759.50 $900.00 X
46227
purchased 319."00 for $89,000

 

 

 

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Select One
Mortgages ONLY:

 

Creditor

3 br 2 bath
Residen'stl>ryddress

Estlmated
Arrcars

Estimated Current
Monthly Installnient

 

 

Rents for $9001month
Mtg: $800!month

 

 

 

 

 

 

 

No late cllarges, fees or other monetary amounts shall be assessed based on the timing of any payments made by the Trustee
under the provisions of the Plan, unless allowed by Order of the Court.

7. SECURED CLA]'MS OTHER THAN CLAIIV[S RELATING TO THE DEB'I`OR'S PRINCIPAL RESI])ENCE: Af’ter
continuation of the plan, the Trustee will pay to the holder of each allowed secured claim the equal monthly amount in column (a)(6)
or (b)('?) based upon the amount of the claim [(Para. 7(a), column (4)] or value offer [(Para. 7(b), column (5]] with interest at the rate

stated in column (a)($) or (b)(6).

(a) Secured Claims To Which 11 U.S.C. 506 Valuation Is Not Applicable:

 

 

 

 

 

 

 

 

 

 

 

 

 

(1) (2) (3) (4) (5) (6) (7)
Creditor Collatcral Purchase Estimated lnterest Equal Adequate
Date Claim Rate Monthly Protection
Amount Amount Amount (l% of
allowed secured
claim)
-NONE-
Additional plan offer, if any, as relates to above claim(s):
(b) Secured Claims To Which 11 U.S-.C. 506 Valuation ls Applicable:
c) (2) c) <4) <5) (6) c) e)
Creditor Collatcral Purchase Scheduled Value Interest Equal Adequate
Date Debt Rate Monthly Protection
Arnount Arnoun't
(l % of allowed
secured claim)
-NONE-

 

 

 

 

 

 

 

 

 

 

Additiorlal plan offer, if any, as relates to above claim(s):

(c) Curing Defaults and/or Maintaining I’ayments: Trustee shall pay allowed claim for arrearage, and Debtor shall pay regular
post-petition contract payments directly to the creditor:

 

Creditor

Collateral/Type ofDebt

Estimated Arrears Intcrest Rate(i.f any)

 

-NONE-

 

 

 

 

 

 

(d) Surrendered/Abandoned Collatcral: The Debtor intends to surrender the following collateral. Upon confirmation, the Chapter
13 estate abandons any interest in, and the automatic stay pursuant to 11 U.S.C. §362 is terminated as to, the listed collateral. Upon
confirmationJ the secured creditor is free to pursue its in rem rights in state court

 

Creditor

Collatcral Surrcndered/Abandoned

Scheduled Value of Property

 

Chase

351? W Perry Ave, lnc|lanapolis, |N
46222
purchased 8124!05 for $68,000
3 br 1 bath
1 story

Debtor is surrendering his interest in
this real estate.

$35,000.00

 

Chase

79 N. Addison Avenue
lndlanapo|is, IN 46222
3 br, 1 bath

Debtor is surrendering his interest in
the property.

$25,000.00

 

Hea|th and Hospital Corporation of
Mario

 

 

3517 W Perry Ave, Indianapo|is, |N
46222

$35,'000.00

 

 

 

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Creditor Collatcral Surrendered!Abandoned Scheduled Value of Property

 

purchased 8124!05 for $68,000
3 br 1 bath
1 story

Debtor is surrendering his interest in
this real estate.

 

6164 Glebe Cir, lndianapo|is, IN 46237
purchased 611102 for $116,000
3 br 2 bath
1 story

Debtor is surrendering his interest in
New York Community Bank this real estate_ '$87,500.00
4102 Kno|| Top, |ndianapo|is, |N 46237
purchased 8!241'01 for $79,923
3 br 1.5 bath
1 story

 

_ Debtor is surrendering his interest in
Uplreglonsrn this real estate_ $79,000.00

 

 

 

 

 

8'. SECURED TAX CLAIlVIS AND 11 U.S.C. 507 PRIORITY CLAIMS: All allowed secured tax obligations shall be paid in full
by the Trustee, inclusive of statutory interest thereon (whether or not an interest factor is expressly offered by plan terms). All allowed
priority claims shall be paid in full by the l`rustee, exclusive of interest, unless the creditor agrees otherwise:

 

 

 

 

 

 

 

Creditor Type ofP`riority or Secured Claim Scheduled Debt Treatment
lndiana Department of Revenue 11 U.S.C. 507(3)(8) $0.00
|RS 11 U.S.C. 507(a)(8} $3,690.42
|RS 11 U.S.C. 507(a)(8) $8,109.95

 

 

 

 

9. NON-PRIORITY UNSECURED CLA]MS:
(a) Separately Class`ified or Long-term Debts:

 

 

Creditor Basis for Classiiicaticn Treatment Amount lnterest (if any)
-NONE-

 

 

 

 

 

 

 

 

(b) Gencral Unsccured Claims-:
L Pro rata distribution from any remaining funds; or
_ Other: _

10. EXECUTORY CONTRACTS AND UNEXP[RED LEASES. All executory contracts and unexpired leases are REJECTED,
except the following, which are assumed:

 

 

Creditor Property Description Treatment
-NO N E-

 

 

 

 

 

 

11. AVOIDANCE OF LIENS. Debtor will file a separate motion or adversary proceeding to avoid the following non-purchase
money security interests, judicial liens, wholly unsecured mortgages or other liens that impair exemptions

 

Creditor Collatcral/Property Description Amount of Lien to be Avoided
Smith Val|ey Professional Park |V LLC Judgment $91,045.38

 

 

 

 

 

 

12. LIEN RETENTION. With respect to' each allowed secured claim provided for by the plan, the holder of such claim shall retain
its lien securing such claim until the earlier of a) the payment of the underlying debt determined under non-bankruptcy law or b) a
discharge order being entered under ll U.S.C. 1328.

13. VESTING OF PROPERTY ()F THE ESTATE. Except as necessary to fund the plan or as expressly retained by the plan or
continuation order, the property of the estate shall revest in the Debtor upon confirmation of the Debtor’s plan, subject to the rights of
the Trustee, if any, to assert claim to any additional property of the estate acquired by the Debtor post-petition pursuant to operation of
ll U.S.C. §1306.

 

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14. MISCELLANEO`US PROVISIONS:

 

Special lntentions:

Chase Home Finance LLC: Debtor{s) intend to pay this continuing claim through the plan with fixed payments of $ 945.31
per month for the duration of the plan and continue making payments after the plan term; as the same may from time to
time be adjusted due to changes in variable interest rate or changes in escrow amounts as may be applicable.

O|d National Bank: Debtor(s) intend to pay this continuing claim through the plan with fixed payments of$ 944.18 per
month for the duration of the plan and continue making payments after the plan term; as the same may from time to time
be adjusted due to changes in variable interest rate or changes in escrow amounts as may be applicable.

Regions: Debtor{s) intend to pay this continuing claim through the plan with fixed payments of $ 1 ,000.00 per month for
the duration of the plan and continue making payments after the plan term; as the same may from time to time be
adjusted due to changes in variable interest rate or changes in escrow amounts as may be applicable.

Suntrust N|ortgage lnc: Debtor(s) intend to pay this continuing claim through the plan with fixed payments of $ 987.95
per month for the duration of the plan and continue making payments after the plan term; as the same may from time to
time be adjusted due to changes in variable interest rate or changes in escrow amounts as may be applicable.
Uplregionsm: Debtor(s) intend to pay this continuing claim through the plan with fixed payments of $ 900.00 per month
for the duration of the plan and continue making payments after the plan term; as the same may from time to time be
adjusted due to changes in variable interest rate or changes in escrow amounts as may be applicable.

Date: February 5, 2014

 

lsi Car| Edward Cuimann
Car| Edward Cu|mann
Printed Name of Debtor

lsi Robert B. Lynch

Robert B. Lynch 17438-49
Counsel for Debtor(s)

7210 Madison Avenue

Suite B

|ndianapo|is, |N 46227

Phone: 317-888-0006

Fax: 317-888-8282

Email: erin@|ynchandbe|ch.com

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